USDC IN/ND case 1:20-cr-00063-HAB-SLC document 46 filed 10/27/21 page 1 of 2


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Cause No. 1:20-CR-63-HAB
                                              )
YANCIE O. HUNTER                              )

                                    OPINION AND ORDER

       Now before the Court is Defendant’s request for the creation of a pre-plea presentence

investigation report. (ECF No. 44). The Government objects on multiple grounds, generally

asserting that the preparation of a presentence investigation report at this time would prejudice the

prosecution. The Court finds that Defendant has provided no good reason for the Court to deviate

from its normal procedures and will deny Defendant’s request.

       Federal Rule of Criminal Procedure 32 sets out sentencing procedures including the

preparation and disclosure of presentence investigation reports. With respect to timing, the Rule

provides, “[u]nless the defendant has consented in writing, the probation officer must not submit

a presentence report to the court or disclose its contents to anyone until the defendant has pleaded

guilty or nolo contendere, or has been found guilty.” Fed. R. Crim. P. 32(e)(1). The Rule does not

prohibit the creation of a presentence investigation report before a plea has been entered, but it

does provide that the report should not be submitted to the court, or disclosed to anyone, until a

plea or a finding of guilty has been made. Stevens v. United States, 227 F.2d 483, 485 (10th Cir.

1955). Absent waiver by the defendant, disclosure of the report prior to plea or trial “constitutes

error of the clearest kind.” Gregg v. United States, 394 U.S. 489, 492 (1969).

       The Court assumes that, having requested the presentence investigation report, counsel

could obtain his client’s written consent. That said, the Court sees no reason to risk the potential
USDC IN/ND case 1:20-cr-00063-HAB-SLC document 46 filed 10/27/21 page 2 of 2


error. As the Government points out, there are any number of issues created by a premature report,

including: Fifth Amendment issues during Defendant’s interview; the potential for changes to the

Guidelines calculation between now and a future plea; and premature disclosure of evidence and

argument by the Government.

       The Court also questions the utility of an early presentence investigation report. Defendant

is essentially asking whether he will be sentenced as an armed career criminal under 18 U.S.C. §

924(e). A presentence report would give him an answer but, as the Government notes, it would be

subject to objection by the parties and review by the Court. In short, it would reflect only the

probation officer’s opinion. It would certainly be an informed opinion, but so too would be the

opinions of counsel, two of the most experienced and competent criminal litigators in the district.

Short of conducting a full sentencing process in advance of a plea, something the Court will not

do, a presentence report is unlikely to provide Defendant with any information his counsel cannot

provide.

       For the foregoing reasons, Defendant’s request for an early presentence investigation report

(ECF No. 44) is DENIED. If Defendant pleads guilty or is found guilty by a factfinder, a

presentence investigation report will be prepared at that time.

           SO ORDERED on October 27, 2021.


                                                s/ Holly A. Brady
                                               JUDGE HOLLY A. BRADY
                                              UNITED STATES DISTRICT COURT




                                                 2
